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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF
                               ILLINOIS EASTERN DIVISION

BREANN KANIEWSKI,                             )
                                              )
                              Plaintiff,      )
                                              )
       v.                                     )        Case No. 18 – cv – 02082
                                              )
ROUNDY’S ILLINOIS, LLC,                       )
                                              )
                              Defendant.      )

                   DEFENDANT’S MOTION TO STRIKE PLAINTIFF’S
                    IMPROPER LOCAL RULE 56.1(b)(3) RESPONSES

       Defendant Roundy’s Illinois, LLC (“Defendant”) respectfully moves this Court to strike

certain improper responses from Plaintiff’s Response to Defendant’s Separate Statement of

Undisputed Facts (Dkt. No. 32). In support of this Motion, Defendant states as follows:

       1.      Plaintiff’s responses to paragraphs 34-35, 37, 47, 56, 59-63, 73, 83, 85, 92, 103-

104 and 120 of Defendant’s Rule 56(c)(1) Separate Statement of Undisputed Facts in Support of

Defendant’s Motion for Summary Judgment (Dkt. No. 24), are improper and fail to comply with

Local Rule 56.1(b)(3).

       2.      Plaintiff’s improper responses should be stricken, and the facts asserted should be

deemed admitted.

       3.      In further support of this Motion, Defendant respectfully submits and incorporates

by reference its supporting Memorandum of Law, filed contemporaneously herewith.

       WHEREFORE, for all of the reasons set forth above, Defendant respectfully requests that

this Court enter an Order striking Plaintiff’s responses to paragraphs 34-35, 37, 47, 56, 59-63, 73,

83, 85, 92, 103-104 and 120 of Defendant’s Separate Statement of Undisputed Facts (Dkt. No. 24),

and deeming those facts admitted for purposes of Defendant’s pending Motion for Summary

Judgment (Dkt. No. 22).
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Dated: March 4, 2019                 Respectfully submitted,

                                     ROUNDY’S ILLINOIS, LLC, d/b/a
                                     MARIANO’S, Defendant

                                     By:/s/ Christopher S. Griesmeyer
                                       One of Its Attorneys
                                       Christopher S. Griesmeyer (ARDC No. 6269851)
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 4, 2019, a copy of the foregoing

Defendant’s Motion to Strike Plaintiff’s Improper Local Rule 56.1(b)(3) Responses, was filed

with the Court’s CM/ECF system, which will provide notice to all counsel of record registered to

receive notices, at the addresses listed below:



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                                              /s/ Christopher S. Griesmeyer
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